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5
     Attorney for Defendant,
6    William Sanchez, Jr.
7

8                    IN THE UNITED STATES DISTRICT COURT
9                   EASTERN DISTRICT OF CALIFORNIA, FRESNO
10
     UNITED STATES OF AMERICA,            ) Case No.: 1:11-CR-00354 LJO
11                                        )
                Plaintiff,                )
12                                        ) STIPULATION AND ORDER
         vs.                              ) ADVANCING SENTENCING HEARING
13                                        ) DATE
     WILLIAM SANCHEZ, JR.,                )
14                                        ) DATE: July 30, 2012
                Defendant.                ) TIME: 8:30 a.m.
15                                        ) Hon. Lawrence J. O’Neill
16

17       IT IS HEREBY STIPULATED by and between the parties hereto
18   through their respective counsel that the sentencing hearing
19   in the above captioned matter now set for Monday, July 30,
20   2012, be advanced to Monday, July 9, 2012 at 8:30 a.m. This
21   request   is    made   by    both   counsel     with    the   intention   of
22   conserving time and resources for both parties and the court.
23
                                              Respectfully submitted,
24
                                              BENJAMIN B. WAGNER
25                                            United States Attorney
26
     DATED: June 28, 2012 By:               /s/ Kathleen A. Servatius
27                                          KATHLEEN A. SERVATIUS
                                            Assistant United States Attorney
28

                                           - 1 -
               Stipulation and Proposed Order to Advance Sentencing Hearing
                                CASE NO.: 1:11-CR-00354 LJO
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1
     DATED: June 28, 2012 By:                   /s/ Kimberly Sanchez
2                                               KIMBERLY SANCHEZ
                                                Assistant United States Attorney
3

4
     DATED: June 28, 2012 By:                   /s/ Anthony P. Capozzi
5                                               ANTHONY P. CAPOZZI
                                                Attorney for Defendant
6                                               William Sanchez, Jr.
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10

11                                           ORDER

12

13            IT IS SO ORDERED.       Based upon the stipulation of the

14   parties and good cause appearing therefor, it is hereby

15   ORDERED that the date of the sentencing hearing of the

16   defendant in the above-entitled case be advanced from Monday,

17   July 30, 2012, at 8:30 a.m. to Monday, July 9, 2012, at 8:30

18   a.m.

19
     IT IS SO ORDERED.
20

21   Dated:    June 29, 2012                      /s/ Lawrence J. O’Neill
                                             UNITED STATES DISTRICT JUDGE
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                                               - 2 -
                   Stipulation and Proposed Order to Advance Sentencing Hearing
                                    CASE NO.: 1:11-CR-00354 LJO
